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IN THE UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF ILLINOIS
URBANA DIVISION

QUARTUS STITT,
Plaintiff,
Vv. No. 2:22-cv-02138
CITY OF DECATUR; DECATUR POLICE
DEPARTMENT; OFFICER DOES 1 through 10,
in their official capacity as police officers of the
Decatur Police Department, inclusive; DOES,

1 through 10, inclusive.
Defendants.

CERTIFICATE OF MAILING

Defendant, the City of Decatur, by its attorney, Jerrold H. Stocks of Featherstun, Gaumer,
Stocks, Flynn & Eck, LLP, hereby certifies that on February 21, 2024, it mailed to the following

recipients a flash drive containing video footage cited in its Motion for Summary Judgment filed

this date.

Clerk of the United States District Court — The Williams Law Group
Central District of Illinois c/o Andrew Williams

218 U.S. Courthouse 20 Island Ave., Suite 801

201 S. Vine Street Miami, FL 33139

Urbana, IL 61802
CITY OF DECATUR, Defendant

By: FEATHERSTUN, GAUMER, STOCKS,
FLYNN & ECK, LLP, His Attorneys.

BY: /s/ Jerrold H. Stocks

Jerrold H. Stocks

ARDC No.: 06201986
FEATHERSTUN, GAUMER, STOCKS,
FLYNN & ECK

101 S. State St., Suite 240

P. O. Box 1760

Decatur, IHinois 62523

Telephone: (217) 429-4453

E-Mail: jstocks(@decatur.legal

